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AO 245B (Rev. 09/17)   Judgment in a Criminal Case
                        Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                           Middle District of Alabama
                                                                           )
              UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                                                           )
                                   V.
                                                                           )
            CHRISTOPHER MICHAEL PARKER                                     )
                                                                                      Case Number: 2:17cr131-06-MHT
                                                                           )
                                                                           )          USM Number: 17248-002
                                                                           )
                                                                                       Timothy Charles Halstrom
                                                                           )

THE DEFENDANT:
                                                                           )          Defendant's Attorney



A plcaded guilty to count(s)            Six of the Indictment on August 28, 2017

El pleaded nolo contenderc to count(s)
   which was accepted by the court.
❑ was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                           Offense Ended             Count

 18                                      tit                     a    .                                         3/4/20'17'               6




       The defendant is sentenced as provided in pages 2 through                  7          of this judgment. The scntence is imposed pursuant to
thc Sentencing Reform Act of 1984.
❑ The defendant has been found not guilty on count(s)

❑ Count(s)                                               El is       17 are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname,residencc,
or mailing address until alI fines,restitution, costs, and special assessments imposed by thisjudgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of materiai changes in economic circumstanccs.

                                                                            12/7/2017
                                                                           Date of impnsition ofJudgment



                                                                           /s/ Myron H. Thompson
                                                                           Signature ofludge




                                                                            MYRON H. THOMPSON, UNITED STATES DISTRICT JUDGE
                                                                           Name and Title ofludge



                                                                            12/19/2017
                                                                           Date
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AO 245B (Rev. 09/17) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                      Judgment — Page      2   of   7
DEFENDANT: CHRISTOPHER MICHAEL PARKER
CASE NUMBER: 2:17cr131-06-MHT

                                                            IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau ofPrisons to be imprisoned for a total
 term of:

  15 Months.




           The court makes the following recommendations to the Bureau ofPrisons:

 The court recommends that the defendant be designated to a BOP facility offering: the Residential Drug Abuse Program
 (RDAP)to address defendant's verified substance-abuse disorder; mental-health treatment; vocational training; and the
 opportunity to pursue a GED.

      Vl The defendant is remanded to the custody of the United States Marshal.

      LI Thc defendant shall surrender to the United States Marshal for this district:

           ❑ at                                  LI a.m.       El p.m.      on

           ILI as notified by the United States Marshal.

      El   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           111 before 2 p.m. on

           I=1 as notified by the United States Marshal.

           111 as notified by the Probation or Pretrial Services Office.



                                                                  RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                        to

 at                                                , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                           By
                                                                                               DEPUTY UNITED STATES MARSHAL
                  Case 2:17-cr-00131-MHT-CSC Document 329 Filed 12/19/17 Page 3 of 7


AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 3 — Supervised Release
                                                                                                    Judgment—rage     3    of
DEFENDANT: CHRISTOPHER MICHAEL PARKER
CASE NUMBER: 2:17cr131-06-MHT
                                                     SUPERVISED RELEASE

Upon release from imprisonrnent, you will be on supervised release for a term of:
 3 Years.




                                                    MANDATORY CONDITIONS

     You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            EJ The above drug testing condition is suspended, based on the coures determination that you
                pose a low risk of future substance abuse.(check _1-applicable)
4.    Fs You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
        restitution.(check 1_1-applicable) (*Amount to be determined at a later hearing.)
5.    g You must cooperate in the collection of DNA as directed by the probation officer. (check fapplicable)
6.    It You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check f
                                                                                        i applicable)

7.    ❑ You must participate in an approved program for domestic violence. (check fapplicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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 AO 245B (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 3A — Supervised Release
                                                                                              Judgment—Page        4        of
DEFENDANT: CHRISTOPHER MICHAEL PARKER
CASE NUMBER: 2:17cr131-06-MHT

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expeetations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a differcnt time
    frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission frorn the
    court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officcr at least 10 days bcfore the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a ehange or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any itcms prohibited by thc conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful typc ofemployment, unless the probation officer excuscs you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change wherc you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at lcast 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officcr within 72 hours of
    becoming awarc of a change or expected change.
8. You must not communicate or interact with someonc you know is cngaged in criminal activity. If you know somcone has heen
    convicted ofa felony, you must not knowingly eommunicate or interact with that person without first getting the permission of the
    probation officer.
9. If you are arrested or questioned by a law cnforcemcnt officer, you must notify thc probation officer within 72 bolus.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tascrs).
11. You must not act or make any agreement with a law cnforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer rnay
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
:judgment containing these conditions. For further information regarding these eonditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
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 AO 245B(Rev. 09/17) Judgment in a Criminal Case
                     Sheet 3D — Supervised Release
                                                                                           Judgment—Page    5    of         7
DEFENDANT: CHRISTOPHER MICHAEL PARKER
CASE NUMBER: 2:17cr131-06-MHT

                                       SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall participate in a program approved by the United States Probation Office for substance abuse as
directed, which may include testing to determine whether he has reverted to the use of drugs; more specifically he shall
participate in a drug assessment to include a determination as to whether he should participate in either inpatient or
outpatient treatment, and the assessment shall be filed with the court. The defendant shall contribute to the cost of any
treatment based on his ability to pay and the availability of third-party payments.

2.The defendant shall provide the probation officer any requested financial information.

3. The defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.

4. The defendant shall participate in a mental-health treatment program approved by the United States Probation Office as
directed. This program should include a reevaluation of his mental health and shall include a determination as to whether
he should receive counseling and what medication he should take; the evaluation shall be filed with the court. The
defendant shall contribute to the cost any mental-health treatment based on his ability to pay and the availability of
third-party payments.

5. The defendant shall pursue vocational training.

6. The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
court.
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AO 245B (Rev. O9/17) Judgment in a Criminal Case
                     Sheet 5 — Criminal Monetary Penalties
                                                                                                                        Judgment — Page      6      of        7
DEFENDANT: CHRISTOPHER MICHAEL PARKER
CASE NUMBER: 2:17cr131-06-MHT
                                              CRIMINAL MONETARY PENALTIES
       The dcfendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                   JVTA Assessment*                                 Fine                        Restitution
TOTALS             $ 100.00



 VI    The determination of restitution is deferred until 4/6/2018 . An Amended Judgment in a Criminal Case(A0 245C) will be entered
       after such detcrmination.

 I=1   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defcndant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36640), all nonfedcral victims must be paid
       before the United States is paid.

 Name of Payee                                                       Total Loss**                               Restitution Ordered          Priority or Percentage
                                                                             ................................
                                                                          .. . .....




                                                              . ..




TOTALS                                                        0.00                                                      0.00


 LI     Restitution amount ordered pursuant to plea agreement $

 O     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). Ali of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 O      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        O the interest requirement is waived for the          ❑ fine            0 restitution.

       O the interest requirement for the         ❑    fine     D      restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rex. 09/17) Judgment in a Criminal Case
                     Sheet 6 — Schedule of Payments
                                                                                                           Judgment — Page      7      of
DEFENDANT: CHRISTOPHER MICHAEL PARKER
CASE NUMBER: 2:17cr131-06-MHT


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary pcnalties is due as follows:

A    0 Lump sum payment of S             100.00               due Unmediatcly, balance due

          0      not later than                                   ,or
          VI     in accordance with 0 C,          ❑ D,        ❑    E, or     V F below; or

B     ❑    Payment to begin immediately(may be combined with               0C,         ❑ D, or     0 F below); or

C     ❑    Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                        (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this:judgment; or

D    0 Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                     (e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment to a
       tcrm of supervision; or

E    0 Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
       imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    0 Special instructions regarding the payment of criminal monetary penalties:

            All criminal monetary payments shall be paid to the Clerk, United States District Court, One Church Street,
            Montgomery, Alabama 36104.




Unless the court has expressly ordered otherwise,ifthisjudg-ment imposes imprisonment, payment ofcriminal monetary penalties is duc during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau ofPrisons' lnmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




0     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




O     The defendant shall pay the cost of prosecution.

O    The defendant shall pay the following court cost(s):

0     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order:(1) assessment,(2)restitution principal,(3)restitution interest,(4) fine principal,(5)finc
interest,(6)community restitution,(7)JVTA assessment,(8) penalties, and (9)costs, including cost of prosecution and court costs.
